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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION



UNITED STATES OF AMERICA

v.                                                           CR 1:16-023

MELISSA SALGATO



                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Andrew M. Magruder having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Andrew M. Magruder be granted leave

of absence for the following periods: December 19, 2016 through December 23,

2016; and December 28, 2016 through December 29, 2016.

      This £0rrday of November, 2016.



                                         HONORABLE^. RANDAL HALL
                                         United States District Judge
                                        .Southern District of Georgia
